
703 S.E.2d 145 (2010)
STATE of North Carolina
v.
Julie Anne YENCER.
No. 365PA10.
Supreme Court of North Carolina.
October 7, 2010.
Amy Kunstling Irene, Assistant Attorney General, for State of North Carolina.
Allen C. Brotherton, Charlotte, for Julie Anne Yencer.
Monica E. Webb, Charlotte, for Trustees of Davidson College.
Thomas R. West, Raleigh, for NC Indep. Colleges &amp; Univ. and NC Assoc. of Campus Law Enforc. Admin.
Edmond W. Caldwell, Jr., Executive Vice President and General Counsel, for N.C. Sheriffs Association, Inc.
Colleen Kochanek, for N.C. Association of Chiefs of Police.
Prior report: ___ N.C.App. ___, 696 S.E.2d 875.

ORDER
Upon consideration of the conditional petition filed on the 3rd of September 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals.
"Allowed by order of the Court in conference, this the 7th of October 2010."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
